Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 1 of 8 PageID #: 38799




                         EXHIBIT 3
Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 2 of 8 PageID #: 38800




                      Expert Report of James Geldhof
                  Based Upon Review as of August 3, 2020
Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 3 of 8 PageID #: 38801




      III.   Oversight

        In my experience, the DEA uses Investigators to engage in oversight of the industry,
including manufacturers and distributors. The investigators’ conduct is governed by the DEA
Diversion Investigator’s Manual.10 Among the avenues available to the Investigators are on-site
inspections, record reviews and access to the self-reporting information mandated by federal law.

        As a result of the 1970 Comprehensive Drug Abuse Prevention and Control Act, the
Automation of Reports and Consolidated Orders System/Diversion Analysis and Detection System
(“ARCOS/DADS”) was created. The DEA defines ARCOS as follows: “The Automation of
Reports and Consolidated Orders System (ARCOS) is the automated system developed by DEA
to monitor selected controlled substances. ARCOS software enables the government to maintain a
current and historical record of selected controlled substance inventories and transactions from the
point of manufacture to the point of sale, distribution, or other disposition, and finally, to the
dispensing (consumption) level.”11 Based upon my training, education and experience, the
Defendants are among those required to report the raw data available to them regarding all
transactions involving Schedule I, II and III narcotic controlled substances. Opioids and opiates
are among the Schedule II and III narcotics for which all transaction data must be reported for
inclusion in ARCOS/DADS.

        During my decades long career in DEA Diversion Program, an overarching responsibility
was to ensure that distributors such as Defendants maintained effective controls to prevent
diversion and to monitor for suspicious orders, stop shipments of suspicious orders and report the
suspicious orders to the DEA. Since before my employment with the DEA, the regulations
regarding suspicious orders stated:

      The registrant shall design and operate a system to disclose to the registrant suspicious
      orders of controlled substances. The registrant shall inform the Field Division Office
      of the Administration in his area of suspicious orders when discovered by the registrant.
      Suspicious orders include orders of unusual size, orders deviating substantially from a
      normal pattern, and orders of unusual frequency.12

        From time to time throughout the years the DEA provided written explanations of the laws
and regulations governing the manufacture, distribution, prescribing and dispensing of controlled
substances. The written explanations took many forms, including, among other things, manuals
issued to the DEA investigators and letters to the distributors. The DEA Diversion Investigator’s
Manual dating back to at least 1996 specifically stated that: 1) “Registrants are required to inform
DEA of suspicious orders”, “Registrants, who routinely report suspicious orders, yet fill these
orders, with reason to believe they are destined for the illicit market, are expressing an attitude of
irresponsibility that is a detriment to the public health and safety as set forth in 21 U.S.C. 823 and



10
     See generally, CAH_MDL_PRIORPROD_DEA07_01176247; CAH_MDL2804_02145395.
11
     https://www.deadiversion.usdoj.gov/arcos/handbook/section1.htm.
12
     21 CFR 1301.74(b).

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Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 4 of 8 PageID #: 38802




824;” and 3) orders with characteristics leading to possible diversion include “orders of unusual
size, unusual frequency, or those deviating substantially from a normal pattern.” 13

         In 2005, the DEA created the Distributor Initiative Program for the specific purpose of
“educat[ing] registrants on maintaining effective controls against diversion, and monitoring for
and reporting suspicious orders.”14 I am also aware of meetings held with each of the Defendants
in late 2005 and early 2006. The purpose of the meetings was to address each Defendants’ role in
identifying suspicious orders with emphasis on internet pharmacies. The meetings included a
power point presentation by DEA representatives which specifically reviewed the statutes,
regulations, enforcement actions and even court decisions addressing the Defendants’ obligations
to monitor, identify and report suspicious orders as well as their obligation to cease shipments
when an order appeared suspicious unless and until a complete investigation dispelled any
suspicions. The DEA provided detailed examples of conduct and orders that should alert the
Defendants to the likelihood of or at least potential for diversion.15

        Following the Distributor Initiative Briefings, based upon my experience, there was still
Administration-wide concern over the distributors’ failure to comply with their legal monitoring
and reporting obligations. To address this concern, DEA Deputy Assistant Administrator Joseph
Rannazzisi sent a September 27, 2006 Guidance Letter to all distributors and identified the purpose
of the letter was “to reiterate the responsibilities of controlled substance distributors in view of the
prescription drug abuse problem our nation currently faces.”16 The letter detailed specific statutes
and regulations with which the distributors were required to comply. Deputy Assistant
Administrator Rannazzisi even highlighted the fact that the distributors’ suspicious order reporting
obligations were separate from and in addition to the distributors’ obligations to monitor for
suspicious orders. “It bears emphasis that the foregoing [suspicious order reporting obligations
under 21 CFR 1301.74(b)] reporting requirement is in addition to, and not in lieu of, the general
requirement under 21 USC 823(e) that a distributor maintain effective controls against
diversion.”17 The September 2006 Guidance Letter was very clear in its reminder of the
distributors’ obligations to monitor for and prevent diversion of controlled substances: “Again, to
maintain effective controls against diversion as section 823(e) requires, the distributor should
exercise due care in confirming the legitimacy of all orders prior to filling.”18 The Letter goes on
to make clear that the suspicious order reporting requirements are also in addition to the ARCOS
transactional data reporting requirements set forth in 21 CFR 1304.33. The Guidance Letter
included a full page of characteristics and circumstances that should give rise to treating an order
as suspicious. The same letter was resent on February 7, 2007 to the distributors.


13
     CAH_MDL2804_02203353 @ 56-57
14
     https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony.pdf.
15
 US-DEA-00000147; ABDCMDL00315887; US-DEA-00000352; CAH_MDL2804_01457737; US-
DEA-00000369; MCKMDL00496859.
16
 See, e.g., ABDCMDL00269683 at 85 & 87; CAH_MDL2804_00061280 at 86 - 87;
MCKMDL00478906-07.
17
     ABDCMDL00269683 at 88.
18
     Id.

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Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 5 of 8 PageID #: 38803




    Deputy Assistant Administrator Rannazzisi sent a December 27, 2007 Guidance Letter to all
manufacturers and distributors of controlled substances: “The purpose of this letter is to reiterate
the responsibilities of controlled substance manufacturers and distributors to inform DEA of
suspicious orders in accordance with 21 CFR 1301.74(b).”19 The letter continued:

             Registrants are reminded that their responsibility does not end merely with the
             filing of a suspicious order report. Registrants must conduct an independent
             analysis of suspicious orders prior to completing a sale to determine whether the
             controlled substances are likely to be diverted from legitimate channels.20

    The Guidance Letter states unequivocally that “excessive purchases” reporting does not satisfy
“suspicious order reports” filing obligations.21 The Guidance Letter also specifically directed
manufacturers and distributors to the Southwood Pharmaceuticals Final Order issued by the DEA
for additional information and guidance in the manufacturers and distributors “obligation to
maintain effective controls against diversion of controlled substances.”22


       IV.        Enforcement

        The DEA uses criminal and administrative processes to enforce the laws and regulations
governing the manufacture and distribution of controlled substances. The DEA posts information
about enforcement proceedings on its website for anyone to see and often issues press releases
about the enforcement proceedings which allows registrants that were not part of the enforcement
or administrative action to be aware of the type of conduct the DEA deems actionable.

       The Final Order referenced in the December 2007 Guidance Letter from Rannazzisi was a
DEA Order against Southwood Pharmaceuticals which upheld a license revocation issued in
November 2006 for repeatedly supplying hydrocodone to pharmacies where the orders were
unusual in size, frequency and pattern but were not reported to the DEA as suspicious orders.

        Over the next several years, the DEA continued enforcement and administrative actions.
Some of the actions taken by DEA are listed below and while not exhaustive, they are indicative
of the types of actions DEA took against distributors specifically.

       •     April 24, 2007: Order to Show Cause and Immediate Suspension Order against the
             AmerisourceBergen Orlando, Florida distribution center alleging failure to maintain
             effective controls against diversion of controlled substances.23

19
     Id. at 85. See also, CAH_MDL2804_00061280-81; MCKMDL00478910-11.
20
     Id.
21
     Id. at 86.
22
     Id.
23
  https://investor.amerisourcebergen.com/news/news-details/2007/AmerisourceBergen-Signs-
Agreement-with-DEA-Leading-to-Reinstatement-of-Its-Orlando-Distribution-Centers-Suspended-
License-to-Distribute-Controlled-Substances/default.aspx.

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Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 6 of 8 PageID #: 38804




       •   June 22, 2007: AmerisourceBergen entered into a settlement and release agreement with
           the DEA related to the allegations made by the agency.24

       •   November 29, 2007: Order to Show Cause and Immediate Suspension Order against the
           Cardinal Health Auburn, Washington Distribution Center which suspended their DEA
           registration for failure to maintain effective controls against diversion.25

       •   December 7, 2007: Order to Show Cause and Immediate Suspension Order against the
           Cardinal Health Lakeland, Florida Distribution Center for failure to maintain effective
           controls against diversion.26

       •   December 7, 2007: Order to Show Cause and Immediate Suspension Order against the
           Cardinal Health Swedesboro, New Jersey Distribution Center for failure to maintain
           effective controls against diversion.27

       •   January 30, 2008: Order to Show Cause against the Cardinal Health Stafford, Texas
           Distribution Center for failure to maintain effective controls against diversion. Cardinal
           voluntarily suspends shipments of any controlled substances from the location pending
           resolution of allegations.28

       •   May 2, 2008: McKesson Corporation agrees to $13 million civil penalty enters into an
           Administrative MOA with the DEA. MOA provides that McKesson agrees to “maintain a
           compliance program designed to detect and prevent the diversion of controlled substances,
           inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
           procedures established by its Controlled Substance Monitoring Program.”29

       •   On September 30, 2008: Cardinal agrees to a $34 million civil penalty enters into a
           Settlement and Release Agreement and Administrative Memorandum of Agreement
           (MOA) with the DEA for failure to maintain effective controls against the diversion of
           controlled substances at enumerated distribution centers.30




24
     Id.
25
  https://ir.cardinalhealth.com/news/press-release-details/2007/Cardinal-Health-Receives-DEA-Order-to-
Temporarily-Cease-Distribution-of-Controlled-Substances-from-Auburn-Wash-Facility/default.aspx.
26
     https://cardinalhealth.mediaroom.com/newsreleasearchive?item=122500.
27
     CAH_MDL_PRIORPROD_DEA12_00013049.
28
     CAH_MDL_PRIORPROD_DEA12_00004212.
29
 https://www.dea.gov/sites/default/files/2018-06/Pharmaceutical%20Agreements%20-
%20McKesson%20-%202008_0.pdf
30
     https://www.justice.gov/archive/usao/co/news/2008/October08/10_2_08.html.

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Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 7 of 8 PageID #: 38805




      •   April 21, 2009: Settlement and Release Agreement and Administrative Memorandum of
          Agreement between DOJ/DEA and Masters Pharmaceutical Inc.31

      •   June 15, 2010: Order to Show Cause and Immediate Suspension Order served on The
          Harvard Drug Group, Livonia, MI.32

      •   June 10, 2010: Suspension of Sunrise Wholesale, Inc. from selling controlled substances
          for supplying excessive amounts of oxycodone.33

      •   April 18, 2011: Harvard Drug Group agrees to $8,000,000 in civil penalties, settles with
          DEA regarding allegations that Harvard failed to have effective system for identifying
          suspicious orders.34

      •   June 10, 2011: Order to Show Cause and Immediate Suspension Order Keysource Medical
          Inc. for distribution oxycodone to Florida.35

      •   February 2, 2012: Order to Show Cause and Immediate Suspension Order Cardinal Health
          Lakeland, Florida Distribution Center for failure to maintain effective controls against
          diversion.36

      •   March 7, 2012: Memorandum of Opinion from the United States District Court for the
          District of Columbia, Cardinal Health, Inc., vs. Eric H. Holder, Jr., Civil Action No. 12-
          185 (RBW), denying Cardinal’s challenge of the DEA’s Order to Show Cause and
          Immediate Suspension of Registration of Cardinal’s Lakeland Distribution Center.37

      •   May 14, 2012: Cardinal Health Administrative MOA with the DEA, stipulates that its
          compliance with the terms of the 2008 MOA were inadequate and suspends Lakeland
          Distribution Center DEA registration for two years.38


31
 https://www.dea.gov/sites/default/files/2018-06/Pharmaceutical%20Agreements%20-
%20Masters%20Pharmaceutical%20-%202009.pdf.
32
 https://www.dea.gov/sites/default/files/2018-06/Pharmaceutical%20Agreements%20-
%20Harvard%20Drug%20Group%20-%202011.pdf.
33
  https://www.sun-sentinel.com/business/fl-xpm-2010-06-22-fl-drug-wholesaler-stopped-20100621-
story.html.
34
  https://www.dea.gov/press-releases/2011/04/18/michigan-based-pharmaceutical-wholesaler-harvard-
drug-group-pay-us.
35
  https://www.dea.gov/press-releases/2011/06/10/cincinnati-pharmaceutical-suppliers-dea-license-
suspended.
36
     CAH_MDL2804_02465982.
37
  https://www.govinfo.gov/content/pkg/USCOURTS-dcd-1_12-cv-00185/pdf/USCOURTS-dcd-1_12-cv-
00185-0.pdf.
38
     CAH_MDL2804_02465982.

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Case 3:17-cv-01362 Document 1135-1 Filed 10/30/20 Page 8 of 8 PageID #: 38806




      •   September 8, 2015: Masters Pharmaceutical – DEA Acting Administrator Chuck
          Rosenberg Final Order revoking the DEA registration of Master Pharmaceutical Inc.39

      •   December 22, 2016: Consent Order between the United States and Kinray, LLC, a
          subsidiary of Cardinal Health.40

      •   December 23, 2016: Cardinal Health agrees to pay $34 million civil penalty regarding
          allegations it failed to report suspicious orders and meet its obligation under the CSA in
          Florida, Maryland, New York, and Washington.41

      •   January 5, 2017: McKesson Administrative MOA with the DEA, agrees to pay $150
          million civil penalty for violation of the 2008 MOA and failure to identify and report
          suspicious orders at numerous distribution centers.42

      •   June 30, 2017: United States Court of Appeals for the District of Columbia Circuit
          published opinion denying the Masters’ petition of review and upholding the Final Order.43


    Congress became interested in the distribution of opioids in West Virginia in particular
apparently after articles appeared in the news media in 2017. 44 In 2018, the Energy and
Commerce Committee held hearings at which representatives of five distributors answered
questions under oath. Among those providing sworn testimony were George S Barrett,
Executive Chairman of the Board, Cardinal Health, Inc.; Steven H. Collis, Chairman, President
and CEO, AmerisourceBergen Corp.; and John H. Hammergren, Chairman, President and CEO,
McKesson Corp.45 Mr. Barrett, Mr. Collis and Mr. Hammergren each testified generally that
they would exercise better judgment today than they did previously.46 In addition to the sworn
testimony of the Defendants’ highest officers, the Committee engaged in an investigation into the
Defendants’ compliance programs and shipments to areas in West Virginia. 47 The Committee
described the Defendants’ conduct and lack of compliance as “astonishing and concerning.”48

39
     Masters Pharm., Inc., 80 Fed. Reg. 55,418-55,501 (Drug Enf’t Admin. Sept. 15, 2015).
40
     https://www.justice.gov/usao-sdny/press-release/file/920806/download.
41
  https://www.justice.gov/usao-mdfl/pr/united-states-reaches-34-million-settlement-cardinal-health-civil-
penalties-under.
42
  https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-
suspicious-orders.
43
     Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).
44
  Red Flags and Warning Signs Ignored: Opioid Distribution and Enforcement Concerns in West
Virginia, Energy and Commerce Committee Majority Staff (Dec. 19, 2018).

45
   Id. at 102-103.
46
   Id.
47
   Id. at 105
48
   Id.

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